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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA

        -against-                                                  NOTICE OF MOTION

STEVEN CARTER
                                                                    20 CR 295 (WFK)
                  Defendant.
------------------------------------------------------X

        PLEASE TAKE NOTICE, that the defendant STEVEN CARTER, by and through his

attorney, Michael P. Padden, Esq. of the Federal Defenders of New York, Inc., and upon the

annexed declaration, will move the Court, before the Honorable William F. Kuntz II, United

States District Judge for the Eastern District of New Yorlc, for an Order:

         1.      Suppressing physical evidence and post-arrest statements, pu~•suant to Fed. R.
                 Crim. P. 12(b)(3)(C) and the Fourth and Fifth Amendments to the United
                 States Constitution.

        2.       Granting such other and further relief as the Court may deem just and proper.



DATED:            BROOKLYN, N.Y.                          Respectfully submitted,
                  September 6, 2021



                                                          MICHAEL P. PADDEN, ESQ.
                                                          Federal Defenders of New York, Inc.
                                                          l Pierrepont Plaza, 16`x' Floor
                                                          Brooklyn, N.Y. l 1201
                                                          (7l 8) 330-1240

TO:     Jacquelyn M. Kasulis, Esq., Acting United States Attorney
        Eastern District of New York
        271 Cadman Plaza East
        Brooklyn, N.Y. l 1201
        By:Assistant U.S. Attorney Nicholas Axelrod Esq.

CC:     Clerk of the Court (by ECF)
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA

        -against-                                            ATTORNEY DECLARATION

STEVEN CARTER
                                                                   20 CR 295 (WFK)
                  Defendant.
------------------------------------------------------X


        I, MICHAEL P. PADDEN, declare under the penalty of perjury, pursuant to 28 U.S.0

 1746, that the following is true and correct:


         1) Iam an attorney employed by the FEDERAL DEFENDERS OF NEW YORK, Inc.,

The attorney of record for the defendant, STEVEN CARTER.


         2) This declaration is submitted in support of the defendant's motion pursuant to FRCP

12(b)(3) and the Fourth Amendment to the United States Constitution to suppress any and all

physical evidence and statements acquired by law enforcement officers during and after a

warrantless stop and search of the person of Mr. Carter's person on April 20`'', 2020. Mr. Carter

also seeks relief under the Fifth Amendment as and Miranda v. Arizona, 384 U.S. 436 (196) and

its progeny.



         3) This declaration based upon information and belief, the sources of which are the

charging instruments filed herein, conversations with the defendant and prosecutors assigned to

the case, as well as a review of "discovery" provided by the Government pursuant to FCRP 16

which includes video obtained through "body cameras" worn by the arresting officers.
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       FACTUAL BACKGROUND



       4) Steven Carter was standing on the corner of Dumont Avenue and Milford Street in

Brooklyn, New York at about 11:25 p.m. on April 29, 2020. He was holding a bag of personal

belongings. Several New York City Police Officers approached him asking, "What was he

doing there?" and, "What was in the Bag?" Mr. Carter responded, in effect, "Nothing but my

personal belongings," as one police officer seized the bag from him, and another placed him in

handcuffs.



       5) The police officers continued to question him about what he was doing there and

where he lived which elicited a statement that inculpated him in the possession of the gun that

was found in the bag by the police.



       6) The body camera video also makes clear that the police told Mr. Carter that he was

under arrest, but said nothing about his rights, particularly with respect to Miranda.



       7) Indeed, during the entire ride to the 75`x' Precinct, while Mr. Carter remained

handcuffed in the back seat of the police vehicle, conversations ensued between him and the

police officers and him during which officers asked him questions about his criminal record.

These questions elicited additional responses from Mr. Williams that we fear could be perceived

and sought to be introduced against him as inculpatory. This all occurred without the benefit of


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the required Miranda warnings.



       LEGAL DISCUSSION



        8) The Fourth Amendment guarantees "[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures." U.S. Const.

amend. IV. A seizure occurs when, under the circumstances, a reasonable person believes he is

not free to leave. See Florida v. Bostick, 501 U.S. 429, 439 (1991). A seizure must be justified

by probable cause or reasonable suspicion of criminal activity based on "specific articulable

facts." See Terry v. Ohio, 392 U.S. 1, 21 (1968). In determining whether an officer had

reasonable suspicion or probable cause to make a stop, a Court should assess both the content

and reliability of the information possessed by the officer. See United States v. Bold, 19 F.3d

99, 102 (2d Cir. 1994).



       9) Mr. Carter clearly has a legitimate expectation of privacy in the area searched, the bag

in his possession and actually on his person. See United States v. Smith, 621 F.2d 483, 486 (2d

Cir. 1980). Once a defendant demonstrates a legitimate expectation of privacy in the area

searched, the burden switches to the government to prove the legality of a warrantless stop. See

United States v. Fer ~u    , 130 F. Supp.2d 560, 566 (S.D.N.Y. 2001); Katz v. United States, 389

U.S. 347, 357 (1967) (warrantless searches presumptively unreasonable); United States

v. Walker, 965 F.3d 180,187 (2d Cir. 2020) (citing Terry, 392 U.S. at 15, 88 S.Ct. 1868 ("Under

our decision, courts still retain their traditional responsibility to guard against police conduct
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which is over-bearing or harassing, or which trenches upon personal security without the

objective evidentiary justification which the Constitution requires.")).



      10) The Second Circuit has also recently made clear that the articulable facts must exists

before the stop, or even a Terry frisk is made. United States v. Weaver, 975 F.3d 94, 100-01

(2d Cir. 2020). In that case, the search was deemed to have initiated when the officer instructed

the defendant what he could do. Id. (officer told defendant to place his hands on the trunk of the

car with legs spread apart." Id. A "search, like a seizure, may begin before there is any

physical contact, at the time when `a reasonaUle person would have believed that the search was

being initiated.' Id. (citations omitted). Particularly pertinent to Mr. William's case is the

Second Circuit's observation "[a]ctually touching a suspect `with the intention of frisking him,'

of course, constitutes a search." Icl. (citations omitted). It is "at that point that [the officer]

must have had an articulable and objectively reasonable belief that Weaver had something

dangerous." Id. at 101.



         11) Weaver is also instructive in the present case, in that whatever hunch an officer has

that someone may be hiding something, he must have "specific or articulable facts that [the

suspect] was hiding something dangerous." Id. at 103-104. There, the suspect's furtive moves

inside a car getting pulled over were not enough. "It is not enough that officers rely on a

suspicion that a suspect was hiding something, even if that something is contraband like drugs—

rather, officers must have a suspicion based on articulable facts that the suspect was "hiding

something dangerous." Icl. at 109. Weaver, 975 F.3d at 105.


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         12) Because Mr. Carter was illegally seized and searched, the gtm recovered as well as

the statements made subsequent to his arrest must be suppressed as fruit of that arrest. Dunaway

v. New York, 442 U.S. 200 (1979); Wong Sun v. United States, 371 U.S. 484-488 (1963).

They were also taken in violation of Miranda and can be suppressed on that ground as well.




         WHEREFORE, it is respectfully submitted that this Court should issue an order

suppressing any fruits of the illegal search and any statements offered by the government.

Alternatively, if there are clearly contested issues of fact in this case bearing on the validity of

the search that warrant an evidentiary hearing. See United States v. Pena, 961 F.2d 333 (2d Cir.

1992).

Dated: September 6, 2021
       Brooklyn, NY

                                                       Respectfully submitted,



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                                                       MICHAEL P. PADDEN
                                                       Federal Defenders of New York, Inc.
                                                       A ttorney for Steven Carter




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